
Almiond, Judge,
delivered the opinion of the court:
This appeal is from the decision of the Patent Office Board of Ap*927peals, adhered to on reconsideration, affirming the rejection of appellant’s application1 for a design patent on a tumbler.
The claim reads: “The ornamental design for a Tumbler, as shown.” The drawing shows the following configuration:



Appellant tells us that his tumbler is primarily a plastic receptacle designed as a disposable drinking glass, originally designed for air line use. An important feature, appellant says, is superior stackability.
The references relied on below are:
Harrison- 2,982,440 May 2, 1961
Plastics, March 1956, page 69, cup in Fig. 3.
Harrison discloses a plastic food container which may be shipped in stacked or nested relation. Prior to placing material in the container for canning, the container bottom is concave upward. At the end of the canning, as the container cools inward pressure results in moving the bottom upward, resulting in an article as shown in Fig. 2 below.

*928


Plastics discloses a plastic cup having a handle. The design details are apparent from Fig. 3 of the reference:



Fistjke 3.- — Green motif on melamine cup. Both cups have been “half” cured.
The examiner rejected the claim as unpatentable over Harrison in view of Plastics under 35 USC 103. It was his view that it would be obvious to a worker of ordinary skill in the art to form the container body of Harrison “in the shorter height and curved sidewalls configuration suggested by the body of the ‘Plastics’ cup.” Such modification, *929lie thought, would result in an appearance over which the claimed design presented no patentable or unobvious ornamental distinction.
In affirming, the board made the following analysis:
Botli appellant’s tumbler and the plastic container disclosed in Harrison, the primary reference, have a relatively large diameter upper end and a substantially smaller diameter lower end. In vertical contour the walls of appellant’s tumbler are constantly .curved, the major upper portion of the walls being convexly curved and the lower end portion being slightly eoneavely curved, whereas in Harrison the walls in vertical contour are straight from top to bottom. Both appellant’s tumbler and the Harrison container * * * have similarly upwardly domed bottom walls.
The Plastics publication discloses * * * a plastic cup, which has a relatively large diameter upper end and a substantially smaller lower end. In vertical contour the walls of the cup in the Plastics publication are curved similarly to the walls of appellant’s tumbler.
Our comparison of appellant’s tumbler with the container disclosed in the Harrison patent discloses that appellant’s tumbler differs in appearance from the Harrison container in the curved contour of the side walls. However, since the Plastics publication discloses a cup with side walls having a curved contour similar to the contour of the side walls of appellant’s tumbler, it is our opinion that to provide the container in Harrison with side walls having a curved contour such as disclosed in the cup in the Plastics publication would involve merely the obvious combination of old design shapes of containers bringing about the expected appearance and, hence, unpatentable over the cited references. In re Garbo, 48 CCPA 845; * * * 287 F.2d 192; 129 USPQ 72 * * *.
Acknowledging that there is similarity “between the structures and the references and the design which has been developed by the applicant” and that the “previous devices could be used for the same” purpose, appellant argues that the previous devices are not of the same design, nor, it is contended, is “the idea of combining a frustoconical container with a rounded bodied cup * * * within the usual province of the designer.” Specifically, appellant contends that his tumbler has a convex outer surface which curves but slightly, with a relatively large radius of curvature and a lower portion reversely curved on a shorter radius but with a continuous curve rather than a small radius fillet between the tumbler portions. In the Plastics structure, appellant argues, the body of the cup curves inwardly to practically the top of the foot portion of the cup, and the rim extends almost cylindrically to its bottom edge, with a small radius of curvature or fillet connecting the rounded body of the cup to the foot portion. No one looking at the structure and the tapered glass of Harrison, it is alleged, would devise appellant’s particular form of outline.
Appellant further contends that the board erred in failing to follow In re Laverne, 53 CCPA 1158, 356 F.2d 1003, 148 USPQ 614 (1966). In that case, this court noted the practical difficulty of ascertaining, in the field of design, who under 35 USC 103 is a “person having *930ordinary skill in the art.” There the court felt that “what we have to do is to determine obviousness to the ordinary intelligent man. The test is inherently a visual test, for the design is nothing more than appearance, and the appearance is that of the article as a whole.” The court then found that the claimed design had a “distinctly different appearance” from the design of the single prior art reference relied upon for a rejection under 35 USC 103.
We are unable to perceive that the board erred in the manner alleged. The board’s decision set forth an analysis in support of the opinion that the design in question is obvious. Nothing thus appears to be contrary to the view expressed in Láveme, supra. Nor are we persuaded by appellant’s additional allegation of commercial success and considerable argument of functional superiority of his design. As noted by the examiner, no evidence of commercial success has been presented in support of that allegation. Nor does the alleged superior stackability of the tumbler lend patentable weight to the design. In In re Garbo, 48 CCPA 845, 287 F.2d 192, 129 USPQ 72 (1961), it is stated:
* * * [A] design may embody functional features and still be patentable, but in order to attain this legal status * * *, the design must have an unobvious appearance distinct from that dictated solely by functional considerations.
Having carefully considered the references and appellant’s arguments, we find ourselves in agreement with the board’s analysis, supra. Appellant has not presented us with any detailed analysis of the differences between the claimed design and the design of the references that would lead us to conclude that the net result of such differences add up to an appearance “distinctly different” from the appearance of Harrison as modified by Plastics. We think that the principle stated in In re Lamb, 48 CCPA 817, 286 F.2d 610, 128 USPQ 539 (1961), has application to the situation here presented:
When considering the patentability of a design it is the appearance as a whole which must be considered, and the mere fact that there are differences over the prior art structures is not alone sufficient to justify a holding that the design is patentable.
The decision of the board is, therefore, affirmed.
Judges Baldwin and McManus concur in the result.

 Serial No. D85.502 filed May 28,1965.

